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 7
                              UNITED STATES DISTRICT COURT
 8
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9

10      UNITED STATES OF AMERICA,                       CASE NO. CR12-47 MJP

11                            Plaintiff,                ORDER DENYING MOTION TO
                                                        APPOINT COUNSEL AND REDUCE
12             v.                                       SENTENCE

13      ALEJANDRO JUAREZ-SANTOS,

14                            Defendant.

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16         THIS MATTER comes before the Court on Defendant’s motion to appoint counsel and to

17 reduce his sentence pursuant to 18 U.S.C. § 3582. (Dkt. No. 1107.) Having considered the

18 parties’ briefing and the related record, the Court hereby DENIES the motion.

19                                            Background

20         Defendant Alejandro Juarez-Santos was sentenced on January 31, 2013, after pleading

21 guilty to Conspiracy to Distribute Controlled Substances. (Dkt. No. 882.) Defendant’s Total

22 Offense Level was 35. Because Defendant’s Criminal History Category was I, the resulting

23 Guidelines range was 168–210 months. This Court then varied downward from that range,

24 imposing a sentence of 120 months, the mandatory minimum.

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 1          Defendant now moves the Court for reduction in sentence based on Amendment 788 to

 2 the Sentencing Guidelines which made Amendment 782 to USSG §2D1.1 retroactively

 3 applicable. (Dkt. No. 1107.) The Government opposes the motion. (Dkt. No. 1116.)

 4                                             Discussion

 5          Amendment 782 to the United States Sentencing Guidelines, which became effective

 6 November 1, 2014, lowered the penalties for most drug offenses by reducing most base offense

 7 levels contained in the USSG § 2D1.1 Drug Quantity table by two levels, and making other

 8 related adjustments to this Guideline. Along with Amendment 782, the Sentencing Commission

 9 adopted Amendment 788, which decreed that Amendment 782 may be applied retroactively to

10 lower the sentences of previously sentenced inmates. At issue in the instant motion is whether

11 this Court has authority to reduce Defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2).

12          In order to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2) two conditions

13 must be met: (1) the defendant must have been sentenced to a term of imprisonment based on a

14 sentencing range that has been lowered by a retroactively applicable Guidelines amendment; and

15 (2) the sentence reduction sought must be consistent with the Sentencing Commission’s

16 applicable policy statements. United States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per

17 curiam). A district court does not have jurisdiction to reduce the defendant’s sentence unless

18 both criteria are met. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).

19          Defendant is ineligible for a reduction in sentence because his sentence is a mandatory

20 minimum sentence and not a sentence based on the Sentencing Guidelines. See United States v.

21 Paulk, 569 F.3d 1094, 1095 (9th Cir. 2009) (quoting 18 U.S.C. § 3582(c)(2))(where a defendant

22 is subject to a mandatory minimum sentence, the sentence “is never based on a sentencing range

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 1 that has subsequently been lowered by the Sentencing Commission.”) As such, this Court is not

 2 authorized to reduce Defendant’s sentence.

 3                                             Conclusion

 4         Defendant is ineligible for a reduction in sentence under 18 U.S.C. § 3582(c)(2) because

 5 the sentence imposed is the mandatory minimum; and the Court finds, therefore, that the

 6 assistance of counsel would not be helpful to Defendant.     Defendant’s motion to appoint

 7 counsel and to reduce his sentence is therefore DENIED.

 8         The clerk is ordered to provide copies of this order to all counsel.

 9         Dated this 12th day of August, 2015.

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                                                         Marsha J. Pechman
                                                         United States District Judge
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